Gase227dimicQssesaRIc Beaune 26-1 Fired O6/OF/21 Raqeerlopiz2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TRISTATE CAPITAL BANK, a
Pennsylvania state chartered bank,

Plaintiff Case No.: 2:21-mc-00399-RJC

Vv. Judge: Robert J. Colville
CHARLES A. MANTELL,
ESQUIRE & DAVID C. NOVICKI,
AS CO-EXECUTORS OF THE
ESTATE OF LOUIS L. CERUZZI
AKA LOUIS CERUZZI AND
LOUIS L. CERUZZI, JR.,
DECEASED, THE ESTATE OF
LOUIS L. CERUZZI AKA LOUIS
CERUZZI AND LOUIS L.
CERUZZI, JR., DECEASED and
BVS ACQUISITION CO. LLC, a
Delaware limited liability company,

Defendants.

Ne Nee Ne ee Ne ee ee ee ee ee ee ee ee ee ee ee es ee

ORDER GRANTING MOTION TO PERMIT REGISTRATION OF JUDGMENT

AND NOW, upon consideration of the Motion to Permit Registration of Judgment filed

by Tristate Capital Bank;

IT IS HEREBY ORDERED that:
1. The Motion is GRANTED.
2. Pursuant to 28 U.S.C. § 1963, Tristate Capital Bank is granted leave to register the
Judgment (as defined in the Motion) in any jurisdictions in which the Defendants may

own assets.
CeaseXaimanessseric Becument 26-1 FiekDen7eL Raerate

Dated: Jasty 1€ , 2021
Pittsburgh, Pennsylvania

Hon. Robert J Colville
United States District Court Judge
